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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
 vs.                                           )   Cause No. 4:20-CR-00167-HEA
                                               )
 DAVID MAAS,                                   )
                                               )
        Defendant.                             )
                                               )

                            MOTION FOR CONTINUANCE

        Comes now Defendant David Maas, by and through his undersigned Counsel, and

 respectfully requests that the matter that is set for trial on August 15, 2022 be continued.

 This request is in the interest of justice and is not in the purpose of undue delay. Further,

 the Defendant requests that the Court reset the matter at the Court’s convenience and for

 such other and further Orders that shall deem just in the premises.


                                                       BRUNTRAGER & BILLINGS, P.C.

                                                        /s/ Neil J. Bruntrager
                                                       Neil J. Bruntrager #29688
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                                                       Attorney for Defendant
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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of August, 2022, the foregoing Motion for

 Continuance was filed electronically with the Clerk of Court to be served by operation

 of the Court’s electronic filing system upon all attorneys of record.




                                                       _/s/ Neil J. Bruntrager___________
